
The PRESIDENT
pronounced the following opinion and decree, viz. “The deed of mortgage, dated the 1st of February 1783, from Herbert Clayborn to Augustine Clay-born, in the decree mentioned, if made for a valuable and bona fide consideration, was not void by reason of Herbert Clayborn the mortgagor, retaining possession, of the slaves and other estate thereby mortgaged to the said Augustine, as the said deed was duly recorded, and that therefore the consideration should have been enquired into, and accounts taken and settled between the parties, before the deed was declared void on that principle, which could not be properly done in this suit, as *Charles. Harrison one of the mortgagees is not a party. But this court is of opinion, that as the said Augustine suffered the said Herbert to retain the possession of the slaves, and other estate, on which the ap-pellees execution was levied, after the sales in October and November, for which bills of sale were made, (as referred to in the answer of the appellant, and filed among *471the exhibits in this cause,) releasing' the equity of redemption,' and conveying the absolute property in the estate, thereby conveyed and confirmed, to the said Augustine, which bills of sale were not recorded until the 14th of April 1785; that they were fraudulent and void as to the appellee, and neither the said sales, nor the prior mortgage which had ceased to operate, did protect the estate, (then sufficient to satisfy his demand) from his execution, and that there is no error in the decree for the payment of the appellee’s debt and costs.
Decree affirmed.
